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IN THE UNITED STATES DISTRICT COURT FOR THE,
WESTERN DISTRICT OF MISSGURPES 19 PH 3: 19
WESTERN DIVISION 2 ayy

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M.P. A MINOR, BY HER NEXT FRIEND,
MARQUITA PETERS, AND MARQUITA
PETERS, INDIVIDUALLY,

Plaintiffs,

BOARD OF DIRECTORS OF RAYTOWN
CONSOLIDATED SCHOOL DISTRICT

)
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)
)
V. ) Case No. 4:18-CV-00816-DGK
)
)
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NO. 2, et al., )

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Defendants.

SUGGESTIONS IN SUPPORT OF
MOTION FOR VOLUNTARY DISMISSAL WITH PREJUDICE OF COUNT I AND
FOR THE COURT TO DECLINE SUPPLEMENTAL JURISDICTION
OVER THE STATE LAW CLAIM FOR TRIAL DE NOVO
Plaintiffs Pro Se, M.P., a minor, by her Next Friend Marquita Peters, and Marquita
Peters, Individually, have filed a motion for voluntary dismissal with prejudice of Count I of
their Petition and for the Court’s order declining to exercise supplemental jurisdiction of
Count II, which arises under state law. The motion to dismiss Count I should be sustained
and the remaining claim returned to state court for a trial de novo of the determination
upholding M.P.’s suspension and school reassignment for the reasons set forth in these
suggestions.
BACKGROUND

Plaintiffs filed a two-count Petition in the Circuit Court of Jackson County presenting

two claims: Count I, which alleged a violation of First Amendment (as applied to the States

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by the Fourteenth Amendment) and Count II which sought a trial de novo of her long-term
suspension and school reassignment by Defendants in the Circuit Court as provided for by
Mo. Rev. Stat. § 167.161.3.' Defendants removed the action to this Court primarily invoking
28 U.S.C. § 1441(a), correctly observing that Count I arose under the Constitution and laws
of the United States. Since removal, Defendants have filed a motion to dismiss Count I
under Fed. R. Civ. P. 12(b)(6) for failure to state a claim upon which relief can be granted.
Doc. 5. Plaintiffs now move for the dismissal of Count I with prejudice, for the Court’s order
declining to exercise jurisdiction over the remaining state law statutory claim for a trial de
novo of Defendants’ suspension and school reassignment, and for remand of the remaining
Count II to the Circuit Court.
AUTHORITIES AND ARGUMENT

The relief sought by Plaintiffs is authorized under applicable rules and statutes and is
warranted when these authorities are applied to the facts and circumstances present here.

Dismissal of Count I is permissible. Federal Rule of Civil Procedure 41(a)(2)

provides that an action may be dismissed at the plaintiffs request by court order “on terms

 

'Mo. Rev. Stat. § 536.150 provides for judicial review of decisions of agencies that
determine the legal rights, duties, or privileges of any person. Section 167.161.3 provides:

The school board shall make a good-faith effort to have the parents or others having
custodial care present at any such [board] hearing. Notwithstanding, any other
provision of law to the contrary, student discipline hearings or proceedings related to
the rights of students to attend school or to receive academic credit shall not be
required to comply with the requirements applicable to contested case hearings as
provided in chapter 536, provided that applicable due process procedures shall be
observed which shall include the right for a trial de novo by the circuit court.

It is such a trial de novo that Plaintiffs seek in Count IT.

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that the court considers proper.” Recognizing that the rule provides that a dismissal under
Rule 41(a)(2) is without prejudice unless the order states otherwise, Plaintiffs emphasize their
willingness for the claim to be dismissed with prejudice. Additionally, Defendants’ motion
to dismiss underscores that they want to avoid liability for the First Amendment claim, so
they hardly can object to its dismissal.
Defendants recognize that this Court’s jurisdiction over the case hinges on Plaintiffs’

First Amendment claim (although their characterization of this claim as “primary” may be an
exaggeration). Doc. 1, Notice of Removal at § 5. As for the state law claim in Count II, they
would have the Court exercise supplemental jurisdiction under 28 U.S.C. § 1367(a).
Although they misstate what is said in the statute, Defendants attempt to assert that the claim
in Count II is so related to the First Amendment claim over which this Court has original
jurisdiction that they form part of the same cause or controversy under Article III of the
United States Constitution. Jd. at ¥ 6 (“Plaintiffs’ various claims of First Amendment and
Fourteenth Amendment rights are so related to the claims over which the Court has original
jurisdiction . . ..”). But what they do not say is what should happen where there is no claim
over which the Court has original jurisdiction. However, § 1367(c) posits circumstances
under which, “district courts may decline to exercise supplemental jurisdiction over a claim
under subsection (a)”:

(1) the claim raises a novel or complex issue of State law,

(2) the claim substantially predominates over the claim or claims over which

the district court has original jurisdiction,

(3) the district court has dismissed all claims over which it has original

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jurisdiction, or

(4) in exceptional circumstances, there are other compelling reasons for
declining jurisdiction.

28 U.S.C. § 1367(c).

At least two of those circumstances are present here. First, and most importantly, is
that if Count I is dismissed, the Court will have dismissed all claims over which it has
original jurisdiction. § 1367(c)(3). So, Count II will no longer be so related to any claim
over which this Court has original jurisdiction. And, although they will press forward to try
to find other counsel who would be admitted to practice in this Court, Plaintiffs would prefer
to continue to be represented by their chosen counsel who originated the case for them in
state court. That the case would return to state court where their chosen attorney is admitted
to practice is a compelling reason for declining jurisdiction. A third reason for declining to
exercise supplemental jurisdiction is that while Count II does not raise a “novel or complex
issue of State law”, it hardly seems to be an efficient use of this Court’s resources to — where
it is the only remaining claim — conduct a trial de novo related to a school suspension and
reassignment.

The Supreme Court has recognized that:

Depending on a host of factors, then — including the circumstances of the
particular case, the nature of the state law claims, the character of the governing state
law, and the relationship between the state and federal claims — district courts may
declines to exercise jurisdiction over supplemental state law claims. The statute
thereby reflects the understanding that, when deciding whether to exercise
supplemental jurisdiction, “a federal court should consider and weigh in each case,
and at every state of the litigation, the values of judicial economy, convenience,

fairness, and comity.”

City of Chicago v. International College of Surgeons, 522 U.S. 156, 173 (1997) (quoting

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Carnegie-Mellon University v. Cohill, 484 U.S. 343, 350 (1988)). These values weigh
heavily in favor of declining to exercise supplemental jurisdiction over a trial de novo of the
determination to uphold M.P.’s suspension and reassignment.

WHEREFORE, for the above reasons Plaintiffs respectfully suggest that their Motion
for Voluntary Dismissal with Prejudice of Count I and for the Court to Decline Supplemental
Jurisdiction Over the State Law Claim in Count II for a Trial De Novo be sustained and the
cause returned to state court for adjudication of Count II upon a trial de novo. Plaintiffs also
suggest that because there is no reason to believe that Defendants would not have been able
to argue for dismissal of Count I in state court and receive a fair and just hearing on their
arguments, proper terms for the dismissal (as contemplated by Rule 41(a)(2) would assess

any costs associated with removal of the action to this Court solely against Defendants.

Respectfully submitted,

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CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the above and foregoing was served on
counsel below by First Class United States Mail, postage pre-paid, this | May of

December, 2018:

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